      Case 1:18-cv-01850-RDP-JHE Document 1-1 Filed 11/08/18 Page 1 of 15                                 FILED
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                                                                                          U.S. DISTRICT COURT
                                                                                              N.D. OF ALABAMA



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                       UNITED STATES DISTRIC1 COURT                                             '
                   FOR THE NORTHERN DISTRICT OF ALABAMA
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CALVIN S. CUMMINGS,                                                  1I C
                                                                     1.,.., • .
          Petitioner,

vs.                                      C""" No.:
FEDERAL BUREAU OF PRISONS,                   1:18-cv-01850-RDP-JHE
          Respondent.



              MEMORANDUM OF LAW IN SUPPORT OF PETITIONER'S
                        28 U.S.C. § 2241 PETITION


        Cornes Now, Calvin S. Cummings ("Cummings") , pro ~· subrni ts

his petition challenging the [F.C.I. Jesup's] 1 prison discipli-

nary actions resulting in the deprivation of, among other things,

Good Conduct Credit Tirne. 2

        This dispute centers around the unreliability of the NIK

Test for so-called narcotics and the procedure for such not being

followed, resulting in an arbitrary "false-positive, thus, per-

petuating the unreliability of said Kit.             All in violation of

the Due Process Clause of the Fifth Amendment.




1.     Petitioner is presently housed at F.C.I. Talladega, AL. 35160.

2.     Appendix A, delineates the lost of privileges and good credit
       time loss.
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        Furthermore, Mr. Cummings remains in his posture of having

NO narcotics as stated herein and throughout, to completion, the

Administrative Remedy Grievance process of the F.R.O.P.          (Remedy

No.s:     920873-A2 and 920875-A2).



                          FACTUAL BACKGROUND


        In the month of September of 2017, Officer Hopson conducted

a room search of the room I was occupying at F.C.I. Jesup; by

placing a window blocker to obstruct the view of anyone to see

in the room.    This lasted for approximately 20-minutes.

        Subsequently, I was brought to the lieutenant's office based

upon items Officer Hopson said he retrieved from out of my room.

I was pat searched then questioned by the Lt. in charge.           Said

Lt. asked me where did I get the K-2 (drugs) from.          I related

that I did not know what he was talking about.         Upon him bringing

my attention to what he was referring to on his desk, I immediately

told him that that was not K-2 but indeed tea and coffee (dried

up) on a napkin.

        I was ordered to provide a urine sample to see if I had drugs

in my system.    A negative result was the outcome.

        I was escorted to lock-up (SHU - Special Housing Unit) to

be detained.    Thereafter, I was served an incident report indica-

ting the dried up tea and coffee ("tea-coffee") was tested and

it signaled for amphetamine.      I advised Lt. Wilson that I wanted

an outside lab to perform a test on the item because the NIK test


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is incorrect and unreliable for its result on the tea-coffee on

the napkin.     I was denied my request.

       On September 26, 2017, my request for an outside lab source

was reiterated to OHO who flatly said that was not going to happen

as those test cost too much.         My response was how could I pro-

perly defend myself when I'm saying that the reliance on the NIK

Test is incorrect for the items (tea-coffee). 3

       I was dismissed on the request and sanctioned as outlined

in Appendix A.



       While in SHU, SHU Lt. Vandiver came to inform me that I was

in the process of receiving another incident report.            He stated

that the property officer, Red Cloud, discovered what seemed to

be a Greeting Card stained from an unknown substance/liquid which,

as I was told, registered for amphetamine.

       Because I received that Greeting Card years ago, I asked

that the Card be sent to an outside Lab to be tested.            I got an

negative response as well from OHO [hearing] with the same request.

It was the same response as the first OHO               My defense was

denied due to the F.B.O.P.       [F.C.I. Jesup] refusal to pay for an

outside Lab to test the item.




3.   It is known throughout the F.R.O.P., in the course of time,
     that teas has been registering for amphetamines and like
     positives. Green tea has been a concern in the F.B.O.P. and
     was removed years ago. This applies equally to teas of certain
     distinctions.


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                                ARGUMENT


Unreliability

     This cause of action arise out of prison authorities per-

forming a procedure which has been proven unreliable across the

spectrum of courts that dealt with the issue.

     The following is not an exhaustive list but these courts

has determined that the NIK test kit to be unreliable:          FBOP v.

Henson, 213 F.3d 897 (5th Cir. 2000);       Lamping v. Walraven, 30

Fed. Appx.   (6th Cir. 2002);    Terry v. Dept. of Public Safety &

Corr. Sevices, 2012 U.S. Dist. LEXIS 90715 (Md.)(positive for

"amphetamine" but contradicted by outside lab).         Cf., Jenkins

v. FBOP, 2018 U.S. Dist. LEXIS 27588 (11th Cir.).

     It must be asserted here that Mr. Cummings, to prove his

innocence to the "false-positive" drug result, continuously re-

quested an outside lab to test the innocuous items and or, item(s)

having an adverse affect on the NIK test that is provided by the

institution inadvertantly.

     In addition tot he courts' findings of unreliability for

the NIK test, the courts recognized that the standard of guilt

by the DHO is for "some evidence".       See, Anderson v. Coleman,

2016 U.S. App. LEXIS 7989 (11th Cir. 2016)(citing Superintendent

Mass. Corr. Inst. Walpole v. Hill, 472 U.S. 445 (1985).          With

the history of producing false-positive and by being contradicted

by outside labs, the NIK test results cannot constitute the "some

evidence" standard in context of disciplinary hearings.           " [A]



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test which produced frequent incorrect results could fail to con-

stitute "some evidence" under the Hill standard.         See also, Higgs

v. Bland, 888 F.2d 443 (6th Cir. 1989);       Jenkins, supra., in this

circuit.


     Wherefore, the NIK test is unreliable especially when it

is not backed up by an outside lab as frequently requested by

Mr. Cummings, for his due process rights and concerns.



Arbitrary Enforcement


     The administrating of the NIK test was/is an improper pro-

cedure.     In the write ups (incident reports), it stated, "The

material was tested;     with a positive reading for amphetamine

utilizing NIK test kits A and U", respectively.

     This procedure is incorrect and creates arbitrary enforcement

of "false-positive" results for, in this case, reading for amphe-

tamine.

     Specifically, Test A --Marquis Reagent 1800-6071 A of the

NIK (Narcotics Indentification System), must always be followed

by Test B 1800-6072 Nitric Reagent, because the two act together.

Following that, Test F 1800-6076 Acid Neutralizer, is required

upon completion of each test (A, Band U 1800-6087).          See, Appen-

dix B.     Test U #800-6087 is used prior to Test A results.       If

Staff gets a reddish color on this test, it is not a positive

(moreso a negative) and it results in amphetamine such as the


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here.     Following this procedure, staff MUST then do Test W #800-

6088.     Test W should be done when a reddish color appears in Test

U.    It is also used in a brown test result.

        Pursuant to proper procedures in testing, NIK tests are not

designed for use with liquid samples.          However, liquids may be

tested by placing the tip of an NIK Substance Loading Device,

liquids or a 1 centimeter square piece of paper into the liquid.

Staff must then remove and allow to air dry.           They then place

the dry paper into the test pack and proceed with the test as

instructed.     The choice of paper is critical.        This is because

unscented, uncolored filter paper is ideal.          Staff should never

use brown paper, hand towels, or newsprint.

        As clearly indicated here, staff did not follow the procedures

when performingthe NIK test kit.          It must be noted that the DHO

officer/report stated that "The NIK system of Nnrcotics Identifi-

cation is based upon a Polytestinq procedure whereby a suspect

material is subjected to a series of progressively discriminating

screening test.      The sequential results of several tests provide

a high degree of certainty that the suspect material is in fact

what the NIK Polytesting System indicates it to be."            (Emphasis

added).

        Clearly, this series of progressively discriminating screening

tests was not conducted in this case.         There definitely was NO

sequential results of several tests as demonstrated above.

        Wherefore due process was violated in this case.



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Relief for Expungement


     The solution to the current issue is dispositive under the

doctrine of mootness.     This doctrine has been expressly used in

this Court under the same due process concerns --unreliability

of the NIK test kit and the improper procedures conducted (with-

out an outside lab test), creating arbitrary "false-positives"--,

in two (2) cases:    Jenkins, supra., and Harris v. FBOP, l:18-cv-

01159-ACA-SGC.

     Article III of the Constitution limits the jurisdiction of

federal courts to the consideration of "cases or controversies.''

U.S. Const. Art. III§ 2.      The doctrine of mootness is derived

from this limitation because "an action that is moot cannot be

characterized as an active case or controversey .• ''      Adler v. Duval

Cnty.Sch.Bd., 112 F.3s 1475, 1477 (11th Cir. 1997).

     This case is straightforward and quite dispositive on the

doctrine of mootness by the Respondent by the expungment of Mr.

Cummings record with regards to the disciplinary incident in question

and reinstate all privileges and loss of good time credit.              See,

Jews for Jesus, Inc. v. Hillsborough Cty. Aviation Autho., 162

F.3d 627, 629 (11th Cir. 1998)("A case is moot when events sub-

sequent to the commencement of a lawsuit create a situation in

which the court can no longer give the plaintiff meaningful relief").

If a case (or claim) is or becomes moot, the court lacks subject-

matter jursdiction over that case of claim.        See, SEC v. Med.

Comm.for Human Rights, 404 U.S. 403, 407 (1972).




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        Wherefore, Mr. Cummings moves the Respondent to dismiss this
cause of action accordingly.



                                  CONCLUSION



        Wherefore, for the foregoing, Mr. Cummings' record with regards

to the relevant case herein must be expunged and the reinstatement

of all privilege and loss of good time credit under the doctrine
of mootness.



                                             Respectfully Submitted




                                             Calvin S. Cummings
                                             #34652-018


                           CERTIFICATE OF SERVICE


        I hereby certify that the foregoing has been hand-delivered

to the appropriate prison staff for legal mail, on this            1,-,-/g
day    of November, 2018;      an original and two (2) copies for filing
in this Court.




                                            C~Cu~
                                             #34652-018
                                             FCI Talladega
                                             PMB 1000
                                             Talladega, AL. 35160



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  TDGFU                  •                    INMATE DISCIPLINE DATA                 C6-13-2018
PAGE 001                 *              CHRONOLOGICAL DISCIPLINARY RECORD      *     }4:05:45

REGISTER NO,       34652-018 NAME .. · CUMMINGS, CALVIN S
FUNCTION.          PRT       FORMAT, CHRONO      LIMIT TO               MOS PRIOR ~O 06-13-2018


REPORT ~TUMBER/STATUS. · 3127223 - SANCTIONED INCIDEWi' DATE/TIME, JS-22-2018 0730
UDC HEARING DATE/TIME, 05-25-2018 0855
FACL/UDC/CHAIRPERSON. · TDG/UNIT G/C. HUMPHREY
REPORT REMARKS..         NO COMMENT
   305 POSSESSING UNAUTHORIZED ITEM - FREQ, 1
        LP COMM     / 15 DAYS/ cs
        COMP,     LAW,     LOSS OF COMMISSARY 15 DAYS RESTORE JUNE 9 2018

REPORT ~'UMBER/STATUS.·    3035614 - SANCTIONED INCIDENT DATE/TIME, J9-20-2017 1230
OHO HEARING DATE/TIME,     09-25-2017 1115            OHO REPT DEL, 10-10-2017 0905
FACL/CHAIRPERSON.          JES/ASPINWALL
APPEAL CASE NUMBER(S)      920873
REPORT REMARKS.            INMATE DENIED PAPER FOUND IN HIS PROPERTY TESTED
                           POSITIVE FOR AMPHETAMINE
   113     POSSESSING DRUGS/ALCOHOL - FREQ, 1 ATI, DOC
           DIS GCT     / 13 DAYS/ CS
           COMP,010 LAW,P    DISALLOW 13 DAYS GOOD CONDUCT TIME
           FF NVGCT    / 28 DAYS/ CS
           COMP,010 LAW,P    FORFEIT 28 DAYS NON-VESTED GOOD CONDUCT TIME
           LP VISIT    / 6 MONTHS/ cs
           COMP,    ',AW,    6 MONTHS LOSS OF VISITATION CONSECUTIVE TO 3032708
                             BEGINNING 09-26-18 THRU 03-25-19
           LP VISITRS / 6 MONTHS/ CS
           COMP,    LAW,     6 MONTHS VISITATION RESTRICTION CONSECU~IVE TO
                             3032708 BEGINNING 03-26-2020 THRU 09-25-2020

REPORT NUMBER/STATUS.·     3032708 - SANCTIONED INCIDENT DATE/TIME, J9-12-2017 1755
OHO HEARING DATE/TIME,     09-26-2017 1100            OHO REPT DEL, 10-10-2017 0910
FACL/CHAIRPERSON.          JES/ASPINWALL
APPEAL CASE NUMBER{S)      920875
REPORT REMARKS.            INMATE DENIED PAPER FOUND IN HIS LOCKER TclSTED
                           POSITIVE FOR AMPHETAMINE
   113     POSSESSING DRUGS/ALCOHOL - FREQ, 1 ATI, DOC
           DIS GCT    / 4J. DAYS/ cs
           C0?·1P: 010 LAW: P             DISALLOW 41 DAYS GOOD CONDUCT TIME
           OS                  / 15 DAYS/ CS/ SUSPENDED 180 DAYS
           COMP,             LAW:    15 DAYS DISCIPLINARY SEGREGATION SUSPENJED PENDING
                                     180 DAYS CLEAR CONDUCT
           LP VISIT            /    1   YEARS/ CS
           COMP,             LAW,
                            1 YEAR LOSS OF VISITATION BE~INNING 09-26-2017
                            THROUGH 09-25-2018
           LP VISITRS / 1 YEARS/ CS
           COMP,    LAW,    1 YEAR VISITATION RESTRICTION (IMMEDIATc F1'~MILY
                            ONLY) BEGINNING 03-26-2019 THROUGH 03-25-2020



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 IDENTIDRUG™ CHART
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 General Polytesting Prccedures                                                                        Determining the amount of suspect material                                                             Breaking the Chemical Ampoules
 Always begin Polytestillg with Test A and continue from test                                         The amount of suspect material needed to make a successful                                              Care should be take:i wlien
 to test until a positive or negative result is obtained. Tests E, L                                  test varies with the amount and purity of the material. With                                            breaking the glass an:,poules
 M, N, P, Q, Rand Tare exceptions 10 this rule and are                                                the exception cl plant material, gelatin squares, etc., you                                             in each test Press firmly
 designed as standalone tests.                                                                        should begin by using the loading device to collect an amount                                           in the center of the 1arness
 Belore testing can begin. rt is important to dassity the
                                                                                                      of powdered suspect material that would fit inside this                                                to break each ampo11le.                                             /
 material using one of the classifications below:
                                                                                                      circle:    Q   If the resulting colors are too weak. use more                                           Once the glass has                              Not Mere   -ll.-./--1,f''l,IC:,
                                                                                                      m~terial: if tao intense, use l11ss.                                                                   broken. do NOT
 Tablets or other hard ma1eriais - Crush a par. oi rhe rnbler                                                                                                                                                continue to crush
 iMo powder and insert into the test pouch.                                                           Safety Precautions                                                                                     the glass amµoL1les.
                                                                                                      Many ol the le sis ill tl1e NIK.. Polytesting S~stem con1a111                                          as this may result
Capsules - Open the capsule, remove part of the µowder ~nd
                                                                                                      strong acid{sl or bases. Always insert a portion of Pack F                                             in   in1ury
insen: into the test pouch.                                                                                                                                                                                                                                   Not hem
                                                                                                      {Acid Neutralizer! into the test pack alter testing and be!ore
Powders - lnser1 powder directly into the test pouch                                                  disposal oi !he used test pack.
Plant material - Begin testing with Test E. Use only a few leal                                      In the event that a rest pack or chemical is ingested, seek
fragments.                                                                                           immediate medical attention. If chemicals come into conract
                                                                                                                                                                                                             Interpretation of Test ~esults
Suspected Brown or BJac!r: Tar Heroin - Begin testing wi1h                                           with the skin or eyes, wash the s~in thoroughly with soap and                                           For any test, tliere ore three rnpo01ant factors vou should look
Test L                                                                                               water. Flush eyes with water and seek immediate medical                                                 for:
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 liquid samples - NIK"' tests are NOT designed for use wilh                                                                                                                                                         1. The color or :ack or cQlor
liquid samples. However, liquids may be tested by placing the                                        Store NIK~' tests i11 a rnol, dark area. Heat will speed up the
                                                                                                     action of the chemicals in each tesL and extreme cold will                                                     2. The color ch 1nge
tip of an NIK"' SUBSTANCE LOADING DEVICE or a lcm square                                                                                                                                                            3. The location of colors in
(roughly 1/r square) piece oi paper into the liquid. Remove                                          slow them down. Appropriate core should be exercised. Do
                                                                                                     NOT store in direct sunlight Technical Assistance is available                                                    th~ testpouc 11
and allow to air dry. Pia ca the dry paper into the test pack and
proceed with the test as instructed. The choice of paper is                                          during business hours at (8001 347-1200
critical. Unscented. uncolored filter pa per is ideal. NEVER 11se
brown paper, hand towels or newsprinl

                                                               NOTE - Each of our NII< Test lnslru~tions am also available in Frenc11, German & Spanish Please
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      liquod san-vples ~ I\Jll( f0 tests are i\lO-r clesiqnod r-or usG vvitJ1
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      liquid sa1T1ples. Howovf~r, liquids 111ay bH tested hv plf1ci119 tho                                                                                                                           Sturc Nll(''.!i
      tip of an Nll<(j\J SUBST/-\NCE LOADlf\lG DEVICE or a ·1 c111 squaro                                                                                                                            (1ctio11 of th
      (rouqhly ·1;2'' square) pie-ce of paper into the liquid. Re111ove                                                                                                                              slovv thern (
      and allovv to air dry. Place the dry pap or into the test pack and                                                                                                                             I\ICJT .stor-e i
       proceed vvith the test as instructed. -rhe choice of paper is                                                                                                                                 llurinq busi_
       critical. Unscented, uncolored filter paper is ideal. ~!EVER 11s1-=!
       brown pa per, hand tovvels or newsprint.

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                                                                                                                                                                               NO. 4938, Contraband Drug Testing
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    ' § 1010.8                          FORMS
            (a)                         Form #2080, "Request for Test of Suspected Contraband Drugs"

             f-C1f;.M 2080 r5..-13·,                  STATE OF NEW YORK- DEPARTMENT Of'CORRECTION:S.AND COMMUNITY SUPERVISJON

                                                     REQUEST FOR TEST OF SUSPECTED CONTRABAND DRUGS
             ir.m~tE N.~m-2                                                                                            Number

                                                                                                                                                                                    /"'"
            Request made by                                                                                            Date


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r



              (b)             Form #2081, "Contraband Test Procedure"

                                              STA.TE OF NEW YORK - DEPARTMENT OF COR:RECTIONS AND COMMUNITY SUPERVJSION

                                                                CONTRABAND TEST PROCEDURE

          Jnr.iate Name                                                                      Nurrber




                        System of Narcotics Identification used:                                  l¥J.     The NIK® System                         The NAP.K·.:a:o I! Syst:m

        TESTING SEQUENCE

         lnitrai Test           ReSutl:ing ~~ors":Color CJ-.a.nges


                                Indication




        S.1,1bsequerrt Test



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   (c)   "NIK Public Safety Statement of Scientific Principles"

                                        NIK® PUBLIC SAFETY
                             SYSTEM OF NARCOTICS IDENTIFICATION
  NIK® Public Safety developed the NIK® System of Narcotics Identification as a means of rapidly
  screening and presumptively identifying substances suspected of being abused drugs, narcotics
  and hallucinogens. Designed to be a completely'self-contained system, the kit in its several
  c.onfigura!ions, provides all necessary elements to perform chemical color tests for the commonly
  known and most frequently abused narcotics and dangerous drugs.
  Each test pack contains the chemical required to perform the desired test in pre-filled,
 hermetically sealed glass ampoules. This eliminates the need for measuring, mixing and
 dispensing of reagents while affording a maximum of protection to the investigator. Reagent shelf
 life is also substantially prolonged by this method of packaging. Chemicals used are ACS grade
 or better, providing the highest rate of accuracy.
 The NIK® System is designed to function as a transportable-mininarcotics identification
 laboratory. It may be carried with you and is, therefore, available for use wherever and whenever
 the need may arise.
                               COLORIMETRIC CHEMICAL TESTING
 The NIK® System employs chemical colorimetric comparison as the means by which narcotics
 and other controlled substances are screened and presumptively identified. Each test pack
 contains one or more chemical reagents which will predictably develop a color or a series of
 colors in the presence of the most commonly known narcotics and dangerous drugs. When the
 predicted color reaction occurs while following the recommended test sequence, a positive
 identification is presumed. A positive identification is considered a component of probable cause
 and generally recognized within our legal system as being presumptive in nature.
                                     NIK® POL YTESTING SYSTEM
 The NIK® System of Narcotics Identification is based upon a poly testing procedure whereby a
suspect material is subjected to a series of progressively discriminating screening tests. The
results of a single test may or may not yield a valid result. However, the sequential results of
several tests, if they all indicate a positive reaction for a particular substance, provides a high
degree of certainty that the suspect material is in fact what the NIK® Poly testing System
indicates it to be.
Experiments have been and continue to be conducted with hundreds of licit and illicit chemical
compounds in a continuing effort to eliminate false positive results. No chemical reagent system,
adaptable to field use exists, that will completely eliminate the occurrence of an occasional invalid
test result. A complete forensic laboratory would be required to qualitatively identify an unknown
suspect substance. In absence of such a laboratory facility, the NIK® System, utilizing the
recommended Poly testing procedure, is your best assurance that the presumptive results of a
positive identification are what they appear to be.
                                NIK® TESTING CAPABILITY
The NIK® System will presumptively identify most substances which fall within the following
general groups of abused drugs:
A. Cannabis sativa L.       B. Depressants       C. Hallucinogens
D. Narcotics                E. Stimulants
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                        NIK® NARCOTICS IDENTIFICATION SYSTEM - NIK® TESTS
      JJ:,
      1'
                Test A Marquis Reagent - for the presumptive identification of Opiates (Morphine, Codeine or
                        Heroin), Demerol, Black Tar, Amphetamine-type compound, including Methamphetamine &
                        Methylenedioxymethamphetamine (MOMA or Ecstacy), Amphetamines an9 ,as a general
                       screening agent for other drugs    <y ~' +cJ ad        i)         ·/--i>t:Ji  ~v
     ); ()      Test B Nitric Acid Reagent - alwa s used with test A for the confirmation of Opiates (Morphine,
    !)(:, ii           Codeine or eroin and Amphetamine-type compound as well as well as a general screening
                       test for other drugs
                ,Test C Modified Dille-Koppanyl Reagent - for the' presumptive identification of Barbiturates
                Test D Modified Ehrlich's Reagent - for the presumptive identification of LSD (Lysergic Acid
                       Diethylamide)
                Test E Duquenois-Levine Reagent - for the presumptive identification of Marijuana, Hashish and
                       "Hash Oil"
               Test G Modified Scott Reagent - for the presumptive identification of Cocaine, Crack or Free Base
               Test H Proprietary Formula - for the presumptive identification of Methadone
               Test I   Proprietary Formula - for the general screening to presumptively identify PMA, Ketamine,
                        Barbiturates and Methadone
               Test J Proprietary Formula - for the presumptive identification of PCP (Phencyclidine)
               Test K Proprietary Formula - for the presumptive identification of Heroin, Black Tar, Codeine and
                      Morphine, (easier to distinguish between the four Opiates, than using test B) -test screens out
                      Methapyrilene and Propoxyphene
               Test L Modified Mecke's Reagent - for the presumptive identification of all forms ol Heroin, including
                      White, Brown and Black Tar, and Ecstacy (MOMA), as well as detecting the presence of
                      certain dye combinations designed to give false positives with the Marquis Test (Test A)
               Test M Proprietary Formula - for the presumptive identification of Methaqualone (Quaaludes, Sopor,
                      Somnalac, Opitimll and Pares! are the trade names)
               Test N Proprietary Formula - for the presumptive identification of Pentazocine, commonly known
                      under the trade name Talwin .Nx or Talacen
               Test O Proprietary Formula - for the presumptive identification of GHB (gammahydroxybytyrate)
               Test P Proprietary Formula - for the presumptive identification of Propoxyphene
           Test Q Proprietary Formula - for the presumptive identification of Ephedrine and Pseudoephedrine
           Test R Proprietary Formula - for the presumptive identification of Valium (Daizepam), Rohpnol
                  (Flunitrazepam) and Methcathinone
           Test T Proprietary Formula - for the presumptive identification of Ketamine
~3  0,,_
         Test U Proprietary Formula - for the presumptive identification of secondary amines, such as
                Methamphetamine and MOMA (Ecstacy)
          Test W Proprietary Formula - for the presumptive identification of amphetamines and Methadone, as
                  well as screening for PMA and Ketamine with Test I
          Bath Salts    Proprietary formula - for presumptive identification of synthetic cathinones/MDPV
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        )    Test       (fvlethylenedioxypryrovalerone)                                       .             ~   J f.
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